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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                EAST St. LOUIS DIVISION

DEMETRIUS ROSS, #K-52284,                             )
                                                      )
                        Plaintiff,                    )
                                                      )
        -vs-                                          )       No. 15-309
                                                      )
GREG GOSSETT, et al.,                                 )
                                                      )
                        Defendants.                   )

             DEFENDANTS PARKS AND WILLIAMS’S MOTION TO DISMISS

        The Defendants, WENDY PARKS and FRED WILLIAMS, by and through their

attorney, Lisa Madigan, Attorney General for the State of Illinois, move pursuant to Federal

Rules 12(b)(1) and Rule 12(b)(6), to dismiss Plaintiff’s complaint. [d/e 1].

        Defendants provide the following in support of her motion:

        1.      On March 19, 2015, Plaintiff filed a complaint against Defendants pursuant to 42

U.S.C. § 1983 and included pendant tort claims. [d/e 1].

        2.      Plaintiff’s complaint states that he is suing “on behalf of himself and all others

similarly situated” for alleged violations related to institutional searches in Illinois Department of

Corrections facilities. Plaintiff sued almost 240 named individuals and “Unknown Members of

Tactical Team Known As ‘Orange Crush.’” [d/e 1, pp. 1-3].

        3.      Plaintiff was at Illinois River Correctional Center for all times relevant to his

complaint. [d/e 1, p. 8, ¶ 7]. He claims that a “shakedown” was conducted of each cell house at

the facility at Illinois River in April 2014.

        4.      Plaintiff also included allegations that similar searches were done at Menard

Correctional Center, Big Muddy River Correctional Center, and Lawrence Correctional Center in


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2014. [d/e 1, pp. 17-18, ¶ 36].

         5.    Defendant Wendy Parks is alleged to have been employed at Menard Correctional

Center and a member of the tactical team. [d/e 1, p. 10 ¶11]. Plaintiff alleges that a humiliating

strip search and unconstitutional shakedown occurred at Menard in early April 2014. [d/e 1, p.

10 ¶36]. Plaintiff makes no allegations that Defendant Parks was personally involved in any

violation of his rights except through the allegation of a conspiracy.

         6.    Plaintiff brings claims against Wendy Parks for alleged violations of the Eighth

Amendment, engaged in a conspiracy to violate the Constitutional rights of offenders, failing to

intervene, and intentional infliction of emotional distress.

         7.    Defendant Fred Williams is alleged to have been employed at Illinois River

Correctional Center and a member of the tactical team. [d/e 1, p. 8 ¶8]. Plaintiff alleges he was

subjected to an unconstitutional shakedown and strip search at Illinois River Correctional Center.

[d/e 1, ¶19-34]. Plaintiff makes no specific allegations that Defendant Williams within the

complaint except general allegations about the manner of a shakedown and strip search at Illinois

River.

         8.    Defendants move to dismiss Plaintiff’s complaint. First, Defendants move for

dismissal because Plaintiff fails to state a claim showing he is entitled to relief from the named

Defendants. Second, Plaintiff fails to adequately plead his claim of conspiracy. Third, Plaintiff

lacks standing to sue for any claims arising out of a facility other than Illinois River, where he

was located. Finally, Plaintiff’s claim of intentional infliction of emotional distress is barred by

sovereign immunity.

         9.    Defendants incorporate by reference the memorandum of law filed by co-

Defendants in support of their motion to dismiss because the arguments set forth there apply


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equally to them, except for argument IV which pertains only to Defendant Stolworthy. [d/e 47].

       WHEREFORE, Defendants respectfully request that this Court grant their motion to

dismiss Plaintiff’s complaint.

                                           Respectfully submitted,

                                           Wendy Parks and Fred Williams,

                                                   Defendants,

                                           LISA MADIGAN, Attorney General
                                           for the State of Illinois,

                                                   Attorney for Defendants,

Lisa A. Cook, #6298233
Assistant Attorney General
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Of Counsel.                                        Assistant Attorney General




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                                 CERTIFICATE OF SERVICE
                                        No. 15-309

       I hereby certify that on June 12, 2015, I electronically filed Defendants Parks and

Williams’s Motion to Dismiss with the Clerk of the Court using the CM/ECF system which will

send notification of such filing(s) to the following:

       Sarah Grady, Mike Kanovitz
        and Jon Loevy
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                                                          s/ Lisa A.Cook__________
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